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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ABC Corporation I et al,

                         Plaintiff,                 CASE NO. 1:20-cv-04806

          v.                                        Judge: Honorable Thomas M. Durkin

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                         Defendants.


               DEFENDANT AND THIRD-PARTY RESPONDENTS’S MOTION
                    TO STRIKE EXPERT REPORT OF PAUL HATCH

         Comes Now, Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and Third-Party

Respondents Gyroor, Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively,

“Third-Party Respondents”) respectfully move the Court for an Order striking the report of Hangzhou

Chic Intelligent Technology Co., Ltd. (“Chic”) and Unicorn Global, Inc.’s (“Unicorn”, and

collectively with Chic, “Plaintiffs”) expert, Paul Hatch. After a lengthy phone discussion, the

Parties were unable to reach an agreement regarding the briefing schedule. Defendant and Third-

Party Respondents propose the briefing schedule as follows,

 Response to Motion                                 February 13

 Reply                                              February 16



         Plaintiffs propose the briefing schedule as follows,

 Response to Motion                                 February 22

 Reply                                              March 1
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      In support of this Motion, Defendant and Third-Party Respondents herewith submit a

Memorandum of Law.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this February 8, 2023, I electronically filed the foregoing file with

the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of record

and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: 02/08/2023                                 /s/ Yu-Hao Yao
